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HLED BY ___ D.O.
|N THE UNITED STATES DlSTR|CT COURT

FOR THE WESTERN DlSTR|CT OF TENNESSE§§ J N g _
WESTERN DlVlS|ON U 30 H 3 56

 

` roman Gou.o
UNITED STATES OF AMER|CA, ) CLEBK, U.S. D'S?HiCTUBT
WID GF i`?=i. i-,EMPi~ES
Plaintiff, )
vs. ) Crimina| No. 02-20165-DA
ALV|N |RWlN MOSS, ET AL )
)
Defendants.
)
ORDER ON

UNOPPOSED MOT|ON OF THE UN|TED STATES
FOR EXTENS|ON OF TlME lN WH|CH TO FILE RESPONSES
TO DEFENDANTS ’ MOT|ONS TO DlSM|SS AND
BlLL OF PART|CULARS

 

This cause came on to be heard this date upon written motion of the United States
for an extension of time in which to file its Responses to certain Defense Motions; and

lT SAT|SFACTOR|LY APPEAR|NG T0 THE COURT

1. The United States is in receipt of Defendants’ motions entitled (1)
“Defendants’ Memorandum |n Support Of Evidentiary Hearing and Motion To Dismiss The
lndictment”; (2) “l\/|otion To Dismiss On The Basis Of Discovery Vio|ations Which Have
Deprived The Defendants Of Due Process, The Effective Assistance Of Counsel, And A
Fair And Speedy Tria|"; and (3) “Joint Motion For Bi|l Of Particu|ars”.

2. The United States is requesting an extension of time, until July 11, 2005, in

which to file its written Responses to the above-referenced Defense Motions.

This document entered on the docket sheet in compliance
with Flule .'f‘ 3r1".1,»'or32(b) FFlCrP on " "'

 

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3. The United States has contacted counsel for Defendants, via communication
through Kemper Durand, Esq., and informed counsel of the substance of the instant
motion. The United States has been informed that Defense Counse| have no objection to
such a request to the Court.

4. That, for good cause shown, the said Motion of the United States should be
granted;

|T |S THEREFORE ORDERED that the United States is to file its Responses to the

three (3) above-referenced Defense Motions, on or before Monday, Ju|y ‘|1, 2005.

ENTER TH|S ,EO DAY OF JUNE, 2005.

 

U ited States District Judge

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 544 in
case 2:02-CR-20165 Was distributed by faX, mail, or direct printing on
July 1, 2005 to the parties listed.

ENNESSEE

 

Robert G. Chadwell

MCKAY CHADWELL PLLC
600 University St.

Ste. 1 60 1

Seattle, WA 98101

Dan NeWSom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

David W. Kenna

MOUND COTTON WOLLAN & GREENGRASS
One Battery Park Plaza

NeW York7 NY 10004--148

Stephen Ross Johnson

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901--112

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901

David E. Wilson

MCKAY CHADWELL, PLLC
600 University

Ste 1 60 1

Seattle, WA 98101

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Wade V. Davies

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901

Michael B. Neal

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 3 8103--246

Michael R. Koblenz

MOUND COTTON WOLLAN & GREENGRASS
One Battery Park Plaza

NeW York7 NY 10004--148

Glenn Reid

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/lemphis7 TN 38177--500

Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/lemphis7 TN 38103--552

Richard M. Carter

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

